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 7
                                      UNITED STATES DISTRICT COURT
 8

 9                                    EASTERN DISTRICT OF CALIFORNIA

10   RYAN BROWN,                                           Case No. 1:17-CV-00590-BAM

11                       Plaintiff,                        STIPULATED PROTECTIVE ORDER

12          v.

13   CONSTELLATION BRANDS, INC., a
     Delaware corporation,
14
                         Defendants.                       Trial Date:         November 6, 2018
15                                                         Complaint Filed:    March 27, 2017

16                  Plaintiff RYAN BROWN (“Plaintiff”) and Defendants CONSTELLATION
17   BRANDS, INC. (“Defendant”; Plaintiff and Defendants are collectively referred to herein as the
18   “Participating Parties,” or either individually as a “Participating Party”) hereby stipulate and agree as
19   follows:
20                  1.       Good cause exists for the issuance of this Order in that the Participating
21   Parties seek to have reasonable access to information relevant to liability and damages in this lawsuit
22   while providing the Participating Parties with a means for limiting access to, and disclosure of,
23   confidential, private, or trade secret information.
24                  2.       Participating Parties may designate all or portions of any document, thing
25   material, testimony, inspection, product of an inspection or other information derived there from as
26   “CONFIDENTIAL” under the terms of this Stipulated Protective Order (“Order”).                   Material
27   designated as “CONFIDENTIAL” under the Order (“CONFIDENTIAL INFORMATION”) may be
28

                               Stipulated Protective Order – Case No. 1:17-CV-00590-BAM
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 1   used only for the purpose of prosecution, defense, discovery, and/or mediation or settlement of this

 2   action, and not for any other purpose. CONFIDENTIAL INFORMATION includes: (a) confidential

 3   or sensitive proprietary, business, commercial, plant procedures and policies and personal

 4   information, or (b) information about current, past, or prospective employees that is of a confidential

 5   or private nature.

 6                  3.      CONFIDENTIAL INFORMATION shall be so designated by stamping

 7   copies of the document produced or testimony with the legend “CONFIDENTIAL” or pre-

 8   designating any inspection and any derived product of the inspection as “CONFIDENTIAL.”

 9   Stamping the legend “CONFIDENTIAL” on the cover of any multi-page document shall designate

10   all pages of the document as confidential, stamping on a label on any electronic storage medium

11   shall designate the contents of such electronic storage medium as CONFIDENTIAL

12   INFORMATION and pre-designating any inspection shall designate the inspection and any product

13   or reports of the inspection as ATTORNEYS’ EYES ONLY MATERIAL. Whether or not any

14   evidence or testimony is, in fact, designated as “CONFIDENTIAL” shall not be conclusive of

15   whether it is lawfully entitled to protection as such, and the failure to make such a designation shall

16   not constitute a waiver to do so.

17                  4.      CONFIDENTIAL INFORMATION produced pursuant to this Order shall be

18   disclosed, revealed, or disseminated only to the Court, the court personnel or staff, Participating

19   Parties, counsel of record for the Participating Parties, their associate attorneys, paralegals,

20   secretaries, clerical staff and to the “QUALIFIED PERSON(S)” designated below.
21                          (a)     witnesses;

22                          (b)     experts and consultants retained by counsel in the prosecution,

23   defense, or settlement of this action;

24                          (c)     court reporter(s) employed in this action;

25                          (d)     a witness at any deposition;

26                          (e)     a Participating Party, or an officer, director, managing agent, or
27   employee of a Participating Party;

28                          (f)     any other person as to whom the Participating Parties agree in writing.
                                                      2.
                                              Stipulated Protective Order
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 1                  5.      Prior   to   reviewing     any     CONFIDENTIAL       INFORMATION,         each

 2   QUALIFIED PERSON shall execute the Non-Disclosure Agreement in the form of Attachment A.

 3   The Participating Parties must retain copies of any executed Non-Disclosure Agreements and must

 4   surrender said copies following the adjudication or settlement of this action as set forth in paragraph

 5   18 herein. CONFIDENTIAL INFORMATION may be duplicated and transmitted to all persons

 6   identified in Paragraph 4.

 7                  6.      Testimony taken at a deposition may be designated as CONFIDENTIAL

 8   INFORMATION by making a statement to that effect on the record at the deposition. Arrangements

 9   shall be made with the deposition reporter taking and transcribing information designated as

10   confidential to bind such portions of the deposition transcript containing information designated as

11   confidential, and to label such portions appropriately. Such deposition testimony shall be conducted

12   only before those persons identified in Paragraph 4 herein.

13                  7.      Participating Parties may also designate all or portions of any document, thing

14   material, testimony or other information derived there from as “ATTORNEYS’ EYES ONLY.”

15   Material designated as “ATTORNEYS’ EYES ONLY” (“ATTORNEYS’ EYES ONLY

16   MATERIAL”) under the Order may be used only for the purpose of prosecution, defense, discovery,

17   mediation or settlement of this action and not for any other purpose. ATTORNEYS’ EYES ONLY

18   MATERIAL is limited to such highly sensitive information such as any of the Participating Parties’

19   trade secrets under the Uniform Trade Secrets Act (California Civil Code sections 3426, et seq.) or

20   information relating to Defendant’s finances. Information concerning or evidencing a Participating
21   Party’s claim for damages or offsets shall not be designated as ATTORNEYS’ EYES ONLY

22   MATERIAL, and shall be designated as CONFIDENTIAL INFORMATION, if designated at all.

23                  8.      ATTORNEYS’ EYES ONLY MATERIAL shall be so designated by

24   stamping copies of the document produced with the legend “ATTORNEYS’ EYES ONLY” or pre-

25   designating any inspection, including the product of any inspection, as “ATTORNEYS’ EYES

26   ONLY.” Stamping the legend “ATTORNEYS’ EYES ONLY” on the cover of any multi-page
27   document shall designate all pages of the document as ATTORNEYS’ EYES ONLY MATERIAL,

28   stamping on a label on any electronic storage medium shall designate the contents of such electronic
                                                    3.
                                            Stipulated Protective Order
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 1   storage medium as ATTORNEYS’ EYES ONLY MATERIAL and pre-designating any inspection

 2   shall designate the inspection and any product or reports of the inspection as ATTORNEYS’ EYES

 3   ONLY MATERIAL.               Whether or not any evidence or testimony is, in fact, designated as

 4   “ATTORNEYS’ EYES ONLY” shall not be determinative of whether it is entitled to lawful

 5   protection as such, and the failure to make such a designation shall not constitute a waiver to do so.

 6                  9.      ATTORNEYS’ EYES ONLY MATERIAL produced pursuant to this Order

 7   shall be disclosed, revealed, or disseminated only to the Court, the court personnel or staff, and

 8   counsel of record for the Participating Parties, their associate attorneys, paralegals, secretaries and

 9   clerical staff, and to the “ATTORNEYS’ EYES ONLY QUALIFIED PERSONS” designated below:

10                  (a)     experts and consultants retained by counsel in the prosecution, defense, or

11   settlement of this action;

12                  (b)     court reporters(s) employed in this action;

13                  (c)     for the examination at a deposition of an employee or agent of the

14   Participating Party who designated such information as ATTORNEYS’ EYES ONLY MATERIAL;

15                  (d)     any other person as to whom the Participating Parties agree in writing.

16                  10.     Prior to reviewing any ATTORNEYS’ EYES ONLY MATERIAL each

17   ATTORNEYS’ EYES ONLY QUALIFIED PERSON shall execute the Non-Disclosure Agreement

18   in the form of Attachment B. The Participating Parties must retain copies of any executed Non-

19   Disclosure Agreements and must surrender said copies following the adjudication or settlement of

20   this action as set forth in paragraph 18 herein.
21                  11.     Testimony taken at a deposition may be designated as ATTORNEYS’ EYES

22   ONLY by making a statement to that effect on the record at the deposition. Arrangements shall be

23   made with the deposition reporter taking and transcribing information designated as ATTORNEYS’

24   EYES ONLY to bind such portions of the deposition transcript containing information designated as

25   ATTORNEYS EYES ONLY MATERIAL, and to label such portions appropriately.                          During

26   deposition testimony designated as ATTORNEYS’ EYES ONLY MATERIAL, such a deposition, or
27   portion thereof, shall be taken only in the presence of persons who are permitted access to such

28   information under this Order, unless agreed in writing between counsel
                                                     4.
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 1                  12.     Notwithstanding the above, the Participating Parties do not waive any right to

 2   challenge whether the material designated or not designated as CONFIDENTIAL INFORMATION

 3   or ATTORNEYS’ EYES ONLY MATERIAL is properly designated or not designated as such, and

 4   do not waive any right to challenge at any hearing, trial or other proceeding, whether such

 5   CONFIDENTIAL INFORMATION is, in fact, confidential or private or whether such

 6   ATTORNEYS’ EYES ONLY MATERIAL is entitled to protection under the Uniform Trade Secrets

 7   Act or any other legal or contractual protection.

 8                  13.     In the event that counsel for a Party receiving Documents, Testimony or

 9   Information in discovery or informal exchange of documents designated as “Confidential” or objects

10   to such designation with respect to any or all of such items, said counsel shall advise counsel for the

11   Designating Party, in writing, of such objections, the specific Documents, Testimony or Information

12   to which each objection pertains, and the specific reasons and support for such objections (the

13   “Designation Objections”). Counsel for the Designating Party shall have thirty (30) days from

14   receipt of the written Designation Objections to either (a) agree in writing to de-designate

15   Documents, Testimony or Information pursuant to any or all of the Designation Objections and/or

16   (b) file a motion with the Court seeking to uphold any or all designations on Documents, Testimony

17   or Information addressed by the Designation Objections (the “Designation Motion”).

18   Pending a resolution of the Designation Motion by the Court, any or all existing designations on the

19   Documents, Testimony or Information at issue in such Motion shall remain in place. The

20   Designating Party shall have the burden on any Designation Motion of establishing the applicability
21   of the “Confidential” designation. In the event that the Designation Objections are neither timely

22   agreed to nor timely addressed in the Designation Motion, then such Documents, Testimony or

23   Information shall be de-designated in accordance with the Designation Objection applicable to such

24   material.

25                  14.     The Participating Parties agree that disclosure of any material designated as

26   CONFIDENTIAL or ATTORNEY’S EYES ONLY to any news source, media outlet, or to any
27   person who discloses the information to any news source or media outlet will result in irreparable

28   harm.
                                                         5.
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 1                   15.    Prior    to   seeking    to    admit     or    introduce   any   CONFIDENTIAL

 2   INFORMATION or ATTORNEYS’ EYES ONLY MATERIAL into the public record in this case,

 3   whether in writing or orally (including the filing of papers which constitute or contain Confidential

 4   Information, and including at the trial of this action), the Participating Parties and their attorneys will

 5   cooperate in good faith to seek appropriate rulings from the Court to safeguard the confidentiality of

 6   Confidential Information, to the extent possible, whether by sealing orders or otherwise. In the event

 7   that any CONFIDENTIAL INFORMATION or ATTORNEYS’ EYES ONLY MATERIAL is used

 8   in any court proceeding in this action shall not lose their confidential status through such use, and the

 9   party using such shall take all reasonable steps to maintain its confidentiality during and after such

10   use.

11                   16.    If through inadvertence a Participating Party produces or offers as testimony

12   any CONFIDENTIAL INFORMATION or ATTORNEYS’ EYES ONLY MATERIAL without

13   labeling it or otherwise designating it as such, at any time, the producing Participating Party may

14   give written notice designating such information as CONFIDENTIAL INFORMATION or

15   ATTORNEYS’ EYES ONLY MATERIAL to opposing counsel and to whomever the information

16   was provided.

17                   17.    If any CONFIDENTIAL INFORMATION or ATTORNEYS’ EYES ONLY

18   MATERIAL is subpoenaed, or its production otherwise lawfully requested, by any third party, the

19   Participating Party from whom the CONFIDENTIAL INFORMATION or ATTORNEYS’ EYES

20   ONLY MATERIAL is requested (“Subpoenaed Party”), shall immediately inform the Participating
21   Party who designated such information as CONFIDENTIAL INFORMATION or ATTORNEYS’

22   EYES ONLY MATERIAL (“Designating Party”) in writing of the request. Upon request by the

23   Designating Party, the Designated Party will promptly move for a protective order excusing

24   disclosure of the requested CONFIDENTIAL INFORMATION or ATTORNEYS’ EYES ONLY

25   MATERIAL to the third party.

26                   18.    The terms of this Order shall survive the final termination of this action and
27   shall be binding on the Participating Parties thereafter.

28                   19.    Within thirty (30) days of the termination or settlement of this action, the
                                                    6.
                                             Stipulated Protective Order
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 1   Participating Parties must simultaneously exchange and surrender any CONFIDENTIAL

 2   INFORMATION and/or ATTORNEYS’ EYES ONLY MATERIAL and copies of any deposition

 3   transcripts designated as CONFIDENTIAL INFORMATION and/or ATTORNEYS’ EYES ONLY

 4   MATERIAL.          Upon surrendering to the other side CONFIDENTIAL INFORMATION and/or

 5   ATTORNEYS’ EYES ONLY MATERIAL and/or deposition testimony, the surrendering

 6   Participating Party must also execute and furnish to the other side the Surrender of Confidential

 7   Information and Attorneys’ Eyes Only Material Testimony Agreement, in the form of Attachment C.

 8   Said exchange shall occur by FedEx overnight delivery.

 9                     20.    No documents shall be filed under seal unless an appropriate order is entered

10   in accordance with California Rules of Court 2.550, et seq. Unless and until such an order is

11   entered, confidential material shall be lodged separately as exhibits and will be returned to counsel

12   upon completion of the hearing for which the confidential material is submitted.

13                     21.    Nothing in this agreement shall be construed to prevent counsel from either

14   side to conduct a reasonable investigation or contact potential witnesses.

15                     22.    This Order is subject to modification by stipulation or by further order of the

16   Court.

17                     IT IS AGREED.

18
                                                ATTACHMENT A
19
                       CONFIDENTIAL INFORMATION NON-DISCLOSURE AGREEMENT
20
                       The undersigned hereby agrees that:
21
                       (1)    I have had the opportunity to review the Stipulated Protective Order (“Order”)
22
     in this action.
23
                       (2)    I agree that I am a “QUALIFIED PERSON” as to set forth in the Order.
24
                       (3)    As a QUALIFIED PERSON, I will not disclose any of the CONFIDENTIAL
25
     INFORMATION to any third person and further agree that my use of any CONFIDENTIAL
26
     INFORMATION shall only be for the prosecution, defenses, discovery, mediation and/or settlement
27
     of this action, and not for any other purpose.
28
                                                         7.
                                              Stipulated Protective Order
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 1                     (4)    As a QUALIFIED PERSON, I further agree that on the termination or

 2   settlement of this action, I will surrender all CONFIDENTIAL INFORMATION which is in my

 3   possession, custody, or control in the manner set forth in paragraph 18 of the Order.

 4

 5   Dated:                   , 20___
                                                             [Print Name]
 6

 7
                                                             [Sign Name]
 8
                                                ATTACHMENT B
 9
                                   ATTORNEYS’ EYES ONLY MATERIAL
10
                                        NON-DISCLOSURE AGREEMENT
11
                       The undersigned hereby agrees that:
12
                       (1)    I have had the opportunity to review the Stipulated Protective Order (“Order”)
13
     in this action.
14
                       (2)    I agree that I am an “ATTORNEYS’ EYES ONLY QUALIFIED PERSON”
15
     as set forth in the Order.
16
                       (3)    As an ATTORNEYS’ EYES ONLY QUALIFIED PERSON, I will not
17
     disclose any of the ATTORNEYS’ EYES ONLY MATERIAL to any third person and further agree
18
     that my use of any ATTORNEYS’ EYES ONLY MATERIAL shall be for the prosecution, defense,
19
     discovery, mediation and/or settlement of this action, and not for any other purpose.
20
                       (4)    As an ATTORNEYS’ EYES ONLY QUALIFIED PERSON, I further agree
21
     that on the termination or settlement of this action, I will surrender all ATTORNEYS’ EYES ONLY
22
     MATERIAL which is in my possession, custody, or control in the manner set forth in paragraph 18
23
     of the Order.
24

25
     Dated:                   , 20___
26                                                           [Print Name]
27

28                                                           [Sign Name]
                                                        8.
                                             Stipulated Protective Order
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 1                                                   ORDER
 2          In addition to the above Stipulation between the parties—which the Court adopts in its
 3   entirety—the Court further ORDERS parties seeking to file a document falling within this Protective
 4   Order to comply with Local Rules 141 and 141.1. Within five (5) days of a written of the Court

 5   allowing a document to be filed under seal, the party shall file a redacted copy of the document so

 6   filed. The redactions shall be narrowly tailored to protect only the information that is confidential or

 7   was deemed confidential.

 8
     IT IS SO ORDERED.
 9

10      Dated:     September 25, 2017                            /s/ Barbara   A. McAuliffe          _
11                                                       UNITED STATES MAGISTRATE JUDGE

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                                                       9.
                                            Stipulated Protective Order
